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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                CASE NO.: 1:22-cv-22900-KMM

   JESUS GABRIEL GELLA,

              Plaintiff,

   v.

   HEALTHCARE REVENUE RECOVERY
   GROUP, LLC,

            Defendant.
   _____________________________________/

                           JOINT NOTICE OF MEDIATOR SELECTION

         Pursuant to the Court’s Order referring this case to mediation [DE 13], the undersigned

  counsel have selected Gregory P. Holder to mediate this matter.

         Dated this 10th day of October 2022.

   /s/ Darren R. Newhart                            /s/ Ernest H. Kohlmyer, III
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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

  October 10, 2022, with the Clerk of the Court by using the electronic filing system. I further certify

  that the foregoing has been sent via electronic transmission to the following: Darren Newhart,

  Esquire at darren@newhartlegal.com, and Matthew D. Bavaro, Esquire at matthew@flight13.com

  (Attorneys for Plaintiff).


                                                        /s/ Ernest H. Kohlmyer, III
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